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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 IN RE: SUBPOENA TO NON-PARTY :
 LINDSEY O. GRAHAM in his official :
 capacity as United States Senator, :               CIVIL ACTION NO.
                                    :               1:22-cv-03027-LMM
 In the matter of:                  :
                                    :
 SPECIAL PURPOSE GRAND JURY, :
 FULTON COUNTY SUPERIOR             :
 COURT CASE NO. 2022-EX-            :
 000024.                            :
                                    :


                                      ORDER

      This case comes before the Court on Senator Lindsey Graham’s

Supplemental Motion to Quash [40]. After due consideration, the Court again

declines to quash the subpoena in its entirety. As to the issue of partial quashal,

the Court quashes the subpoena only as to questions about Senator Graham’s

investigatory fact-finding on the telephone calls to Georgia election officials,

including how such information related to his decision to certify the results of the

2020 presidential election. The Court finds that this area of inquiry falls under

the protection of the Speech or Debate Clause, which prohibits questions on

legislative activity. As to the other categories, the Court finds that they are not

legislative, and the Speech or Debate Clause does not apply to them. As such,

Senator Graham may be questioned about any alleged efforts to encourage

Secretary Raffensperger or others to throw out ballots or otherwise alter
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Georgia’s election practices and procedures. Likewise, the grand jury may inquire

into Senator Graham’s alleged communications and coordination with the Trump

Campaign and its post-election efforts in Georgia, as well as into Senator

Graham’s public statements related to Georgia’s 2020 elections.

      I.    BACKGROUND

      In this matter, Senator Graham seeks to quash the subpoena issued to him

as part of the Fulton County Special Purpose Grand Jury’s investigation into

attempts to disrupt the lawful administration of Georgia’s 2020 elections. On

August 15, 2022, the Court denied Senator Graham’s Expedited Motion to Quash,

see Dkt. No. [27], and the Court subsequently denied Senator Graham’s request

to stay that order. See Dkt. No. [37]. Senator Graham appealed, and the Eleventh

Circuit Court of Appeals temporarily stayed this Court’s earlier order and

remanded the case to this Court to determine whether Senator Graham is entitled

to a partial quashal or modification of the grand jury subpoena pursuant to the

Constitution’s Speech or Debate Clause. Fulton Cnty. Special Purpose Grand Jury

v. Graham, No. 22-12696-DD, 2022 WL 3581876, at *1 (11th Cir. Aug. 22, 2022).

The Eleventh Circuit ordered that the parties submit briefing on this issue, see

id., and this Court therefore directed Senator Graham to file a motion articulating

his arguments for partial quashal. Dkt. No. [38]. Senator Graham’s Supplemental

Motion to Quash, the District Attorney’s Response in opposition, and Senator

Graham’s Reply are presently before the Court.




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      II.    DISCUSSION

      Under Federal Rule of Civil Procedure 45, and on timely motion, a district

court “must quash or modify a subpoena that . . . requires disclosure of privileged

or other protected matter, if no exception or waiver applies[.]” Fed. R. Civ. P.

45(d)(3)(A)(iii); see also In re Hubbard, 803 F.3d 1298, 1307 (11th Cir. 2015).

The parties dispute whether and to what extent the subpoena should be partially

quashed or modified.

      As an initial matter, however, Senator Graham begins by arguing that the

subpoena should be quashed in its entirety. See generally Dkt. No. [40-1] at 6–14;

id. at 14 (“[C]omplete quashal remains appropriate.”). In doing so, Senator

Graham merely rehashes the same arguments the Court has previously rejected.

The Court will not revisit these same arguments for complete quashal because the

Court has already considered and rejected Senator Graham’s arguments in two

prior orders. See Dkt. Nos. [27, 37]. Moreover, by continuing to raise arguments

for complete quashal, Senator Graham goes against the directions of both the

Eleventh Circuit and this Court. In its order remanding the case, the Eleventh

Circuit stated unequivocally that the case was returning to this Court for the

“limited purpose” of determining whether Senator Graham “is entitled to a

partial quashal or modification of the subpoena.” Graham, 2022 WL 3581876, at

*1. To that end, the Eleventh Circuit ordered the parties to submit briefing on

that issue only. Id. This Court then entered an order directing Senator Graham to

“file a Motion as to exactly which questions and/or categories of information he is


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requesting the Court to address in an Order to partially quash the subpoena.”

Dkt. No. [38] at 1. Nevertheless, Senator Graham continues to raise arguments

for quashing the subpoena in its entirety. Because these arguments are both

unavailing, see Dkt. Nos. [27, 37], and improperly raised at this time, the Court

will only consider Senator Graham’s arguments in favor of partially quashing or

modifying the subpoena. Because Senator Graham argues that certain categories

of information are protected from questioning under the Speech or Debate

Clause, the Court will address whether quashal of the subpoena as to these

categories is appropriate.

             A. Phone Calls to Georgia Election Officials

      Senator Graham argues first that the Court should quash the subpoena

with respect to any potential questions regarding the phone calls he made to

Georgia election officials. Dkt. No. [40-1] at 17. Senator Graham characterizes the

phone calls as “investigatory phone calls” and argues that they cannot be the

subject of any questioning because they are comprised entirely of legitimate

legislative activity. See id. at 6–7, 17. In this way, Senator Graham suggests that

the phone calls are monolithic and comprised exclusively of investigative fact-

finding, and he urges the Court to accept his characterization of the calls and

thereby conclude that the Speech or Debate Clause completely prohibits all

inquiries related to them without regard to the information being sought. Id.

      The Court is unpersuaded by the breadth of Senator Graham’s argument

and does not find that the Speech or Debate Clause completely prevents all


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questioning related to the calls. As a starting point, the Court must look

objectively at the activity at issue—phone calls made by an individual U.S.

Senator from South Carolina to Georgia state election officials—to determine

whether such activity is “legislative” and thus categorically excluded from inquiry

under the Speech or Debate Clause. Under this test, the Court must not consider

the motives or intentions of the individual performing the act. See, e.g., Bogan v.

Scott-Harris, 523 U.S. 44, 54 (1998) (“Whether an act is legislative turns on the

nature of the act, rather than on the motive or intent of the official performing

it.”).

         As the Court has previously indicated, the calls themselves—again, calls

between a U.S. Senator from South Carolina and Georgia’s state election

officials—are not manifestly legislative on their face. Indeed, though Senator

Graham frequently argues that the Court would easily conclude that the calls

themselves are obviously legislative if the Court properly applied the test and

ignored all suggestions of motive, it is, in fact, Senator Graham who asks the

Court to accept his proposed motive (to carry out an individual investigation so as

to inform his choice to certify the election) in assessing whether the calls

constitute only legitimate legislative activity. But as the Supreme Court has

indicated on numerous occasions, the Court may not consider any motive or

intent in making this assessment, including the motivation that Senator Graham

proposes and asks the Court to adopt. Bogan, 523 U.S. at 54–55. And so, whether

there are areas of inquiry that are barred from questioning under the Speech or


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Debate Clause requires a more granular analysis of the phone calls and the

activities and inquiries that allegedly took place on the calls.1 It is the nature of

those activities and inquiries that determines if the Speech or Debate Clause

forecloses questioning. The actual question being asked is also important.

Narrow questions can, by their specific subject matter, completely foreclose any

argument that they are related to legislative activity.

      Turning, then, to the substance of the calls, there is not only dispute

between the parties as to the nature and substance of Senator Graham’s inquiries

and statements on the calls, but, as the record illustrates, there is also significant

public dispute on these issues among those who were present on the calls. For his

part, Senator Graham argues that the phone calls were entirely investigative and

are therefore protected from inquiry. Dkt. No. [40-1] at 6–7. In other words,



1 Even if the Court were to take a wider view of the calls and consider additional
facts in assessing whether they are legislative, the Court would reach the same
conclusion. Here, the objective facts about the calls are disputed: Senator
Graham maintains that his calls were exclusively concerned with legislative fact-
finding relevant to his upcoming certification vote; by contrast, other participants
on the calls, namely Secretary Raffensperger himself, have publicly stated that
this was not the sole purpose of the calls and that Senator Graham instead
suggested or implied that he (Secretary Raffensperger) should take certain
actions such as throwing out ballots. As alluded to in the District Attorney’s
earlier briefing and referenced in this Court’s earlier order, see Dkt. No. [27] at 12
n.4, Senator Graham himself also appears to have stated publicly that he was at
least making suggestions as to how Georgia election officials should change the
state’s signature-verification process going forward; of course, “cajoling” officials
from a different branch of government in that manner is not legislative activity.
See Gravel v. United States, 408 U.S. 606, 624–25 (1972). Thus, even when
taking a closer look at the circumstances of the calls, it is evident on their face
that they are not comprised exclusively of legislative activity and thus are not
shielded in their entirety under the Speech or Debate Clause.

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Senator Graham maintains that his inquiries on the phone calls were all in

furtherance of his attempt to personally investigate allegations of voter fraud in

Georgia and to thereby inform his upcoming certification decision. Id. However,

as alluded to in the District Attorney’s briefing throughout this case, individuals

who were on the calls have publicly indicated their understanding that Senator

Graham was not simply gathering information about Georgia’s election processes

but was, instead, suggesting or implying that Georgia Secretary of State

Raffensperger should throw out ballots or otherwise adopt procedures that would

alter the results of the state’s election.

      To begin, and as a threshold matter, the Court must first decide whether

the kind of individual investigation Senator Graham suggests he was carrying out

would, in fact, constitute legislative activity for the purposes of the Speech or

Debate Clause. Dkt. No. [40-1] at 6–7. Stated another way, the Court must first

determine whether an individual, informal investigation carried out by a senator

regarding an issue that arguably falls within his legislative province (such as the

certification of a presidential election) could constitute legitimate legislative

activity and therefore be protected under the Speech or Debate Clause.

      The Court concludes that, under certain circumstances, such investigations

may constitute legitimate legislative activity that falls within the protections of

the Speech or Debate Clause. Though the Supreme Court has never directly

addressed this specific issue, the Court finds that this conclusion aligns with the

underlying reasoning of the Supreme Court’s test for determining whether a


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given activity is legislative. As discussed above, courts must objectively assess the

activity at issue (without considerations of intent and motive) to determine

whether it is legislative. Bogan, 523 U.S. at 54–55. Under this test, if a given

activity or investigation is sanctioned by Congress in some formal way, then that

official endorsement would presumably carry dispositive weight in determining

that the given activity is legislative in nature. See, e.g., Eastland v. U.S.

Servicemen’s Fund, 421 U.S. 491, 505 (1975) (finding that the issuance of a

subpoena by a Senate subcommittee pursuant to an officially sanctioned and

authorized investigation constituted protected legislative activity under the

Speech or Debate Clause). But the test itself does not necessarily include a

formality requirement and, as presently fashioned, it allows for flexibility of

analysis depending on the circumstances of a given case. Thus, while actions

taken pursuant to a formally authorized congressional investigation would

presumably always fall within the sphere of legitimate legislative activity, the fact

that a member’s individual investigative efforts may not be tied to an official

congressional inquiry does not necessarily mean that such an investigation is per

se non-legislative. The Court is therefore persuaded that, in some instances, fact-

finding inquiries carried out by individual members of Congress can fall within

the sphere of legislative activity protected by the Speech or Debate Clause. See,

e.g., Gov’t of the Virgin Islands v. Lee, 775 F.2d 514, 520–21 (3d Cir. 1985)

(concluding that legislative immunity should apply to fact-finding and

information-gathering).


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      Returning to the facts of this case, Senator Graham has suggested that he

was, at minimum, carrying out a legitimate (albeit informal) investigation into

allegations of voter fraud so as to eventually fulfill his congressional role in

certifying the results of the 2020 presidential election. Dkt. No. [40-1] at 6–7.

Given that the Electoral Count Act designates the responsibility of certification to

the members of Congress, the Court finds that a member of Congress could,

pursuant to this duty, engage in individual investigatory efforts to understand a

state’s voting procedures so as to inform his or her eventual decision to certify the

results of a presidential election.2 Thus, to the extent Senator Graham was merely

asking questions about Georgia’s then-existing election procedures and

allegations of voter fraud in the leadup to his certification vote, such questions

are shielded from inquiry under the Speech or Debate Clause. In other words,

Senator Graham cannot be asked about the portions of the calls that were

legislative fact-finding.

      But this conclusion does not end the analysis on this issue. Though Senator

Graham maintains that these calls were comprised entirely of legislative fact-




2 Senator Graham has suggested that his inquiries were also “legislative” because
he eventually co-sponsored legislation to amend the Electoral Count Act, because
he was chair of the Judiciary Committee, and also because he was investigating
possible “national standards” for mail-in voting. Dkt. No. [40-1] at 7. Because the
Court concludes that an investigation into an individual state’s election
procedures can constitute legislative activity when done pursuant to a member of
Congress’s duty to certify the results of a presidential election, the Court need
not—and does not—reach the issue of whether Senator Graham’s purported
investigation was “legislative” for any additional reasons.

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finding relevant to his certification vote (and urges the Court to accept this

conclusion on its face), the Court does not find that it can simply accept Senator

Graham’s sweeping and conclusory characterizations of the calls and ignore other

objective facts in the record that call Senator Graham’s characterizations into

question. As noted above, and as discussed at length in the Court’s earlier orders,

the very nature and substance of these calls has been a source of public debate

and dispute among the calls’ participants. Indeed, as alluded to in both parties’

briefing, Secretary Raffensperger has stated publicly that he understood Senator

Graham to be implying or otherwise suggesting that he (Secretary Raffensperger)

should throw out ballots. As the Court has previously stated, any such “cajoling,”

“exhorting,” or pressuring of Secretary Raffensperger (or any other Georgia

election officials) to throw out ballots or otherwise change Georgia’s election

processes, including changing processes so as to alter the state’s results, is not

protected legislative activity under the Speech or Debate Clause. See Gravel, 408

U.S. at 625. Regardless of whether such conduct is criminal, it is, at minimum,

“in no wise related to the due functioning of the legislative process.” United

States v. Brewster, 408 U.S. 501, 525 (1972). Accordingly, Senator Graham may

face targeted and specific questioning regarding this alleged activity, which is to

say he may, at minimum, be asked whether he in fact implied, suggested, or

otherwise indicated that Secretary Raffensperger (or other Georgia election

officials) throw out ballots or otherwise alter their election procedures (including




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in ways that would alter election results). This is not legislative fact-finding on its

face.

        Senator Graham argues that any such questions are impermissible and

barred by the Speech or Debate Clause because they merely seek to delve into his

subjective motivations for his investigative inquiries. See Dkt. No. [40-1] at 6–9,

20–21. However, Senator Graham’s arguments on this point are unpersuasive.

First, Senator Graham is simply incorrect when he states that “every objective

fact . . . shows that [his] phone calls were part of . . . a facially legislative

investigation.” Id. at 6–7. To the contrary, the objective facts in this case (with

regard to the phone calls) show that there has been significant public dispute as

to the meaning and nature of the calls and Senator Graham’s statements and

inquiries therein. Senator Graham dismisses these facts as irrelevant, but in

doing so, he either misunderstands or attempts to avoid the objective facts as

they exist in the present record. For example, though Senator Graham argues that

Secretary Raffensperger’s comments merely speak to the Secretary’s unfounded

suppositions about Senator Graham’s “motivations,” that is not the import of

Secretary Raffensperger’s statements. Rather than hypothesizing about Senator

Graham’s secret motivations, Secretary Raffensperger’s comments about the calls

reflect his understanding of what Senator Graham’s questions and statements

themselves actually meant (i.e., an attempt to suggest or imply that Secretary

Raffensperger should throw out ballots). In this way, and contrary to Senator

Graham’s framing of the “objective facts,” the public dispute regarding these calls


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is not reducible to a mere disagreement over Senator Graham’s “real”

motivations; instead, there is a fundamental factual dispute as to the very nature

and substance of the phone calls and what Senator Graham actually stated and

suggested on the calls. And so, to the extent he asked questions or made

statements that went beyond mere inquiries into Georgia’s then-existing

procedures (that is, to the extent Senator Graham suggested that Georgia election

officials take certain actions or alter their procedures), those statements and

questions may be the subject of inquiry before the grand jury because they are

not protected legislative activity.

      Practically speaking, this is the difference between asking broad questions

of intent that could implicate some legitimate legislative activity (such as asking

Senator Graham why he made the calls to Georgia election officials) versus asking

precise, targeted questions regarding decidedly non-legislative activity (such as

asking Senator Graham whether he suggested or implied that Secretary

Raffensperger or other officials should throw out ballots or otherwise alter

Georgia’s election procedures, or whether he made any such instructions at the

behest of the Trump Campaign). Again, the Court finds that this manner of

targeted and specific inquiry aligns with the approach endorsed by the Supreme

Court in United States v. Helstoski, 442 U.S. 477, 488 n.7 (1979). In that case, the

Supreme Court explained that non-legislative activity could be examined or used

while carefully avoiding or “excising” any references to protected legislative

activity. Id. (“Nothing in our opinion, by any conceivable reading, prohibits


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excising references to legislative acts, so that the remainder of the evidence would

be admissible. . . . [A] Member can use the Speech or Debate Clause as a shield

against prosecution by the Executive Branch, but only for utterances within the

scope of legislative acts as defined in our holdings. That is the clear purpose of

the Clause.”). So too may the grand jury carefully question Senator Graham on

topics that do not involve legislative activity. Again, it is possible that the phone

calls contained both legislative and non-legislative activity, and the Speech or

Debate Clause protects only that which is legislative. Id.

      The same approach is applicable to questions regarding the logistics of the

phone calls and any potential coordination with the Trump Campaign in

organizing the calls. Senator Graham suggests that any questions about his

communications or coordination with the Trump Campaign would just be a

veiled maneuver to ask him why he “really” made the calls and whether he did so

at the behest of former President Trump. Dkt. No. [40-1] at 18–19. But here

again, the Court is not persuaded that the grand jury should be broadly forbidden

from asking any questions regarding the logistics of setting up the phone calls.

Instead, Senator Graham may be asked specific, targeted, and factually oriented

questions about the logistics of setting up the phone calls (as opposed to broad,

intent-oriented questions as to why Senator Graham “really” made the phone




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calls) without implicating any potential legislative activity. Helstoski, 442 U.S. at

488 n.7.3

              B. Topics and Activities Unrelated to the Phone Calls

      In his Supplemental Brief, Senator Graham argues that three additional

areas of inquiry are, in fact, improper and that the subpoena should be partially

quashed or modified to exclude them. Dkt. No. [40-1] at 18–23. The Court

addresses these topics and Senator Graham’s arguments below.

                1. Communications and Coordination with the Trump
                   Campaign Regarding Its Post-Election Efforts in
                   Georgia

      As noted above in Part II.A., Senator Graham argues that questions about

his potential coordination or communications with the Trump Campaign and its

post-election efforts in Georgia are impermissible because such questions would

just be used as a “backdoor” for questioning him as to his real motivations for

making the phone calls. Dkt. No. [40-1] at 18–19. Senator Graham maintains that

any such inquiries are therefore impermissible under the Speech or Debate

Clause. Id.



3As this Court has maintained throughout these proceedings, even if this case is
remanded to the Superior Court of Fulton County, Senator Graham may still
remove (to this Court) discrete disputes regarding the application of legislative
immunity to specific questions. In other words, if there are specific questions as
to which Senator Graham wishes to assert a privilege or immunity claim, he may
still do so and then remove those disputes to this Court, at which time the Court
would be able to issue a ruling in the context of that specific (and therefore
concrete) dispute. This is the approach successfully taken as to Congressman
Jody Hice’s subpoena to appear in front of this same grand jury.


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      Though Senator Graham attempts to conflate this category of potential

questions into a single issue—that is, whether he will be asked why he “really”

made the calls and whether they were made at the request of the Trump

Campaign or President Trump himself—the issue is broader than what Senator

Graham argues. Most importantly, as the Court explained in its previous order,

there is no indication in the record that the grand jury’s potential inquiry into

Senator Graham’s alleged coordination and communications with the Trump

Campaign regarding the Campaign’s post-election efforts in Georgia (or

coordination with other third parties for the same or similar purposes) is

somehow exclusively tied to the subject of Senator Graham’s phone calls to

Georgia election officials. See Dkt. No. [27] at 7–8 (quoting Dkt. Nos. [1-2, 9] and

referring to the District Attorney’s representations at the hearing as to the scope

of Senator Graham’s relevance to the investigation). In other words, to the extent

Senator Graham would face questioning about his alleged coordination or

communication with the Trump Campaign and its post-election efforts in Georgia

on topics other than the phone calls, those questions are permitted because any

such actions (i.e., potentially coordinating with a political campaign to participate

in or advance that campaign’s post-election efforts in Georgia) are fundamentally

“political in nature rather than legislative” and therefore do not fall within the

protections of the Speech or Debate Clause. Brewster, 408 U.S. at 512.

      Accordingly, and as the Court previously held, the Court does not find that

the subpoena should be quashed or modified to exclude all questions about


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Senator Graham’s potential communications or coordination with the Trump

Campaign and its post-election efforts in Georgia. To the extent Senator Graham

may be asked questions about his communications or coordination with the

Trump Campaign outside of any reference to the phone calls themselves, the

Court finds no basis for concluding that those actions are legislative and therefore

shielded from inquiry under the Speech or Debate Clause. Id. (“[I]t has never

been seriously contended that [political activities and errands], however

appropriate, have the protection afforded by the Speech or Debate Clause.”). As

to the separate issue of whether Senator Graham could be questioned regarding

his coordination with the Trump Campaign relative to the logistics of setting up

the calls themselves, the Court addressed that issue above in Part II.A. and finds

that tailored and targeted inquiries on this issue are permissible.

                2. Public Statements Regarding the 2020 Election

      Senator Graham also argues that he may not be asked about his public

statements (outside of Congress) regarding Georgia’s 2020 elections. Dkt. No.

[40-1] at 19–20. Senator Graham suggests that any questions about such public

statements would simply be another “backdoor” way to question him about the

phone calls and his investigative inquiries. Id. Fundamentally, Senator Graham

suggests that because at least some of the information related to his public

statements may overlap with legislative activity, he simply cannot be questioned

about such public statements.




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      Senator Graham’s arguments on this issue are without merit. First, as

Senator Graham concedes, public statements given outside of Congress are not

considered protected legislative activity under the Speech or Debate Clause.

Brewster, 408 U.S. at 512 (explaining that “news releases” and “speeches

delivered outside the Congress” are among the activities that are “political in

nature rather than legislative” and therefore not protected by the Speech or

Debate Clause). Moreover, the reasoning behind Senator Graham’s central

argument—that is, that he may not be questioned about his public statements

because those statements were referring to his “investigative calls”—has already

been rejected by the Supreme Court. For example, in Hutchinson v. Proxmire,

443 U.S. 111, 127–30 (1979), the Supreme Court considered and rejected Senator

Proxmire’s attempt to avoid liability for libel after he republished a speech

delivered in Congress4 in newsletters and a press release. Indeed, in that case,

“the text of [the Senator’s] speech was incorporated into [the] press release, with

only the addition of introductory and concluding sentences.” Id. at 115–16. In

rejecting the Senator’s argument that the press release and newsletters (which

themselves also “repeated the essence of the speech,” see id. at 117) were

protected under the Speech or Debate Clause, the Supreme Court expressly



4In Hutchinson, Senator Proxmire could not recall whether he actually delivered
the speech in Congress or simply entered it into the Congressional Record.
Hutchinson, 443 U.S. at 116 n.3. The Supreme Court assumed without deciding
that a speech that had, at minimum, been printed in the Congressional Record
would “carr[y] immunity under the Speech or Debate Clause as though delivered
on the floor.” Id.

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rejected the argument that material that once fell squarely within the protected

legislative sphere remains completely shielded when a member of Congress

brings that material into an unprotected sphere:

      A speech by [Senator] Proxmire in the Senate would be wholly
      immune and would be available to other Members of Congress and
      the public in the Congressional Record. But neither the newsletters
      nor the press release was ‘essential to the deliberations of the Senate’
      and neither was part of the deliberative process.

Id. at 130; see also id. at 127–28 (“[T]he precedents abundantly support the

conclusion that a Member may be held liable for republishing defamatory

statements originally made in either House. We perceive no basis for departing

from that long-established rule.”).

      Senator Graham also argues that his public statements regarding Georgia’s

2020 elections do not fall within the “ambit” of the subpoena. Dkt. No. [40-1] at

20. However, there is no support for this argument. The grand jury is authorized

to “investigate the facts and circumstances relating directly or indirectly to

possible attempts to disrupt the lawful administration of the 2020 elections in

the State of Georgia.” Dkt. No. [1-2] at 7. Thus, to the extent Senator Graham

made public comments regarding Georgia’s 2020 elections, and to the extent

these comments are relevant to the facts and circumstances related to potential

attempts to disrupt the lawful administration of Georgia’s 2020 elections, such

public statements unquestionably fall within the investigative purview of the

grand jury (and are not shielded from inquiry by the Speech or Debate Clause),

and Senator Graham may therefore be questioned as to such statements.


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                3. Efforts to “Cajole” or “Exhort” Georgia Election
                   Officials

      Senator Graham also argues that any questions regarding his alleged

attempts to encourage, “cajole,” or “exhort” Georgia election officials to take

certain actions, including throwing out ballots and changing their election

procedures going forward, should also be excluded. Dkt. No. [40-1] at 20–23.

      First, Senator Graham states, “[T]he Supreme Court has never held that

the Speech or Debate Clause does not cover efforts to convince executive officials

to generally enforce or act upon a particular understanding of the law[.]” Id. at

20. But in making this argument, Senator Graham plainly misrepresents the

Supreme Court’s analysis on this issue:

      Members of Congress are constantly in touch with the Executive
      Branch of the Government and with administrative agencies—they
      may cajole, and exhort with respect to the administration of a federal
      statute—but such conduct, though generally done, is not protected
      legislative activity. United States v. Johnson decided at least this
      much.

Gravel, 408 U.S. at 605 (emphasis added).

      Second, Senator Graham argues that any questions regarding his alleged

efforts to cajole or encourage Secretary Raffensperger to throw out ballots or

otherwise change Georgia’s election procedures is simply an impermissible

“backdoor” to questioning him about his motives for legitimate legislative

activity. Dkt. No. [40-1] at 20. The Court addressed and rejected this argument

above in Part II.A.




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      And finally, Senator Graham argues that any statements he may have made

to encourage and cajole Georgia election officials to change their signature-

verification processes going forward should also be excluded from inquiry. Dkt.

No. [40-1] at 21–22. Senator Graham makes two general arguments in support of

this position.

      First, Senator Graham suggests that it was within his legislative province to

affirmatively direct or encourage Georgia election officials to change their state’s

election laws and procedures because the “quality of Senate elections” falls within

his legislative province and because “requests for changes in implementation of

the laws is immunized by the Speech or Debate Clause, properly understood.” Id.

at 22. The Court finds no support for the suggestion that Senator Graham’s

position or responsibilities as a U.S. Senator entitled him to exhort or pressure

Georgia state election officials as to how they should change or otherwise

administer their state’s election laws and procedures; again, Senator Graham’s

argument is squarely foreclosed by the Supreme Court’s analysis in Gravel, as

noted above. See Gravel, 408 U.S. at 625.

      Second, Senator Graham argues that any questions about his attempts to

encourage and cajole Georgia election officials to change their signature-

verification process in the future was related to the then-upcoming runoffs for

Georgia’s two Senate seats. Because these runoff elections were technically held

in early January 2021 (instead of within 2020), Senator Graham reasons that he

may not be questioned about anything related to the Senate runoffs because the


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grand jury’s investigation (and therefore the scope of the subpoena) are limited to

Georgia’s 2020 elections. Dkt. No. [40-1] at 22–23. In other words, Senator

Graham contends that he may not be asked about Georgia’s Senate runoff races

stemming from the November 2020 elections because those runoffs technically

occurred in early January 2021 instead of 2020. This argument lacks factual and

logical support, and its reliance on a technicality cannot carry it forward. The

Senate runoffs held in early January 2021 were the culmination of Georgia’s

2020 Senate elections. Because the grand jury has been impaneled to “investigate

the facts and circumstances relating directly or indirectly to possible attempts to

disrupt the lawful administration of the 2020 elections in the State of Georgia[,]”

see Dkt. No. [1-2] at 7, questions regarding the administration of Georgia’s Senate

runoffs (including attempts to disrupt the lawful administration of the runoffs)

fall within the purview of the grand jury’s investigation.5



5 Senator Graham has also argued that the Court itself has “suggested potential
lines of inquiry that are or could be unrelated to the 2020 election[]” and which
are beyond the scope of the grand jury’s investigation. Dkt. No. [40-1] at 21–22
(citing Dkt. No. [27] at 12 n.4). There is no support for this argument because
neither the Court nor any other party has indicated that Senator Graham may (or
should) be questioned on topics that fall outside the scope of the grand jury’s
investigation. The footnote from the Court’s previous order that Senator Graham
cites does not suggest that Senator Graham could be asked about topics outside
the scope of the grand jury’s investigation. Instead, the Court observed that—
contrary to Senator Graham’s assertions that he was only asking questions about
Georgia’s election processes so as to gather information for legislative purposes—
Senator Graham himself stated publicly that he was making affirmative
suggestions as to how Georgia election officials should change their signature-
verification process going forward. Dkt. No. [27] at 12 n.4. Moreover, and as an
overarching matter, the Court has relied on the grand jury’s stated scope and
purpose—as reflected in both the District Attorney’s request to impanel the grand

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      III.   CONCLUSION

      In accordance with the foregoing, Senator Lindsey Graham’s Supplemental

Motion to Quash [40] is GRANTED IN PART and DENIED IN PART.

Senator Graham may not be questioned about investigatory fact-finding that

allegedly took place on the phone calls with Georgia election officials because

such fact-finding constitutes protected legislative activity. Specifically, this means

that Senator Graham cannot be questioned as to any information-gathering

questions he posed (or why he posed them) about Georgia’s then-existing election

procedures or allegations of voter fraud. Senator Graham’s Motion is otherwise

denied as to all other topics addressed in his brief and discussed in the sections

above. In sum, and as explained above, Senator Graham may be questioned about

any alleged efforts to “cajole” or encourage Secretary Raffensperger or other

Georgia election officials to throw out ballots or otherwise alter Georgia’s election

practices and procedures. Likewise, the grand jury may inquire into Senator

Graham’s alleged communications and coordination with the Trump Campaign

and its post-election efforts in Georgia, as well as into Senator Graham’s public

statements related to Georgia’s 2020 elections.6



jury as well as the Fulton County Superior Court’s order impaneling the grand
jury and adopting the purpose stated in the District Attorney’s request—to assess
whether Senator Graham may be questioned on topics raised in the parties’
briefing and during the hearing. See id. at 7 (citing Dkt. No. [1-2] at 7, 10).
6 Senator Graham concludes his brief by arguing that the Court has improperly
inverted the burden by directing him to address the categories of information and
topics which he believes are shielded by the Speech or Debate Clause (and

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      It is the Court’s understanding that this concludes the scope of the remand

to this Court. The Court further DIRECTS the Clerk to TRANSMIT a copy of

this Order and the record on limited remand [38-43] to the Eleventh Circuit

Court of Appeals.



      IT IS SO ORDERED this 1st day of September, 2022.


                                      _____________________________
                                      Leigh Martin May
                                      United States District Judge




thereby demonstrate why partial quashal or modification of the subpoena is
justified based on his invocation of legislative immunity). Dkt. No. [40-1] at 23–
26. Senator Graham argues that the burden should instead be on the District
Attorney to show that certain topics, conversations, or actions are not legislative.
Id. The Court disagrees. As the Court has previously stated, Eleventh Circuit
caselaw indicates that the burden rests with Senator Graham to articulate why he
is entitled to legislative immunity under the Speech or Debate Clause. See Bryant
v. Jones, 575 F.3d 1281, 1304 (11th Cir. 2009) (“While the Court has given the
[Speech or Debate] Clause broad application, its protections are carefully tailored
to its purposes. Officials claiming protection must show that such immunity is
justified for the governmental function at issue.” (quotation marks and citation
omitted)); see also In re Hubbard, 803 F.3d at 1307–09 (explaining that state
legislators properly asserted their claims to legislative privilege in response to
subpoenas because they (1) invoked their legislative privilege claims through
counsel and (2) “made their privilege claims known through written motions to
quash”). In addition, the Court does not issue advisory opinions. A movant asking
for partial quashal or modification of a subpoena must ask the Court what he
wants quashed.

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